                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TENNESSEE

 JOHNATHAN WILLIAM ELLISH,      )
                                )
      Plaintiff,                )                  CASE NO. 1:23-CV-00020-TAV-CHS
                                )
 VERSUS                         )                  JURY DEMAND
                                )
 CITY OF EAST RIDGE, TENNESSEE; )
 ANNA SIMMONS; JAMES TYLER      )
 DAVIS; AND SAMUEL ROISTACHER)
                                )
      Defendants                )

                                 ORDER OF DISMISSAL

        Pursuant to Rule 41(a)(2), the Plaintiff requests that this action be dismissed with

 full prejudice. The Court finds that the Plaintiff and all Defendants, by and through

 counsel, have agreed that this matter shall be dismissed with full prejudice against all

 Defendants, including, the City of East Ridge, Tennessee, Anna Simmons, James Tyler

 Davis, and Samuel Roistacher.

        It is therefore, ORDERED that this matter is dismissed with full prejudice

 pursuant to Rule 41(a)(2). Each party will bear their own attorneys’ fees and costs.

        ENTERED this the ____ day of ________________, 2023.



                                           ________________________________
                                                 JUDGE VARLAN




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